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    Granite v. Alberta - Summary of Fees Expenses Relating to Escrow Claims




                                  Escrow     Escrow Related    Escrow Related   Total Fees &    General Description
 Invoice #    Invoice Date     Related Hours      Fees           Expenses        Expenses               of Work
  10975747     04/14/2009           2.50     $      1,147.50   $          -   $       1,147.50 Initial investigation of
                                                                                               claims, assess and
                                                                                               prepare demands to
                                                                                               Land Title
  10982815        05/11/2009       41.15     $     16,939.65   $       258.99 $      17,198.64 Continued
                                                                                               investigation,
                                                                                               research claims,
                                                                                               prepare complaint,
                                                                                               confer with opposing
                                                                                               counsel
  10993023        06/12/2009       16.35     $      6,234.33   $       725.75 $       6,960.08 Research remedies,
                                                                                               confer with Land Title,
                                                                                               prepare report to
                                                                                               client, review answer
                                                                                               & counterclaims,
                                                                                               prepare summary of
                                                                                               agreements and
                                                                                               timeline

  11000150        07/09/2009       18.95     $      7,564.58   $         72.51   $      7,637.09 Confer with opposing
                                                                                                 counsel, address
                                                                                                 scheduling issues,
                                                                                                 legal research,
                                                                                                 prepare settlement
                                                                                                 statement for
                                                                                                 magistrate
  11010482        08/12/2009       19.65     $      7,132.99   $        559.52   $      7,692.51 Initial disclosures,
                                                                                                 Pretrial Order,
                                                                                                 Settlement
                                                                                                 Statement, Confer
                                                                                                 with Land Title,
                                                                                                 Scheduling Hearing,
                                                                                                 Assess Defendants'
                                                                                                 Disclosures, Confer
                                                                                                 on Disclosures
  11018185        09/09/2009       1.80      $        663.00   $           -     $        663.00 Assess Status &
                                                                                                 Discovery
  11018175        09/09/2009       0.80      $        406.30   $           -     $        406.30 Protective Order,
                                                                                                 Confer with Opposing
                                                                                                 Counsel
  11025990        10/08/2009       38.40     $     10,110.75   $           -     $     10,110.75 Protective Order
                                                                                                 Assessment, Motion,
                                                                                                 Discussions &
                                                                                                 Hearing, Settlement
                                                                                                 Assessment,
                                                                                                 Document Production




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    Granite v. Alberta - Summary of Fees Expenses Relating to Escrow Claims



                                  Escrow     Escrow Related  Escrow Related    Total Fees &    General Description
 Invoice #    Invoice Date     Related Hours      Fees         Expenses         Expenses              of Work
  11037080     11/11/2009           5.70     $      1,742.92 $          -    $       1,742.92 Assess Status &
                                                                                              Discovery
  11045862        12/11/2009       0.60      $        181.08 $          -    $         181.08 Prepare Discovery
  11052436        01/12/2010       84.50     $     29,259.98 $      (485.70) $      28,774.28 Assess & Repond to
                                                                                              Alberta Summary
                                                                                              Judgment, Interview
                                                                                              Witnesses, Review
                                                                                              Discovery Requests,
                                                                                              Confer w/ Opposing
                                                                                              Counsel re: Discovery
                                                                                              Disputes, Prepare
                                                                                              Summary Judgment
                                                                                              Response w/
                                                                                              Evidence
  11061048        02/12/2010      251.20     $    102,722.08 $     1,037.87 $     103,759.95 Review Alberta
                                                                                              documents, Review of
                                                                                              Granite Documents
                                                                                              for Production to
                                                                                              Alberta, Prepare for
                                                                                              and Take
                                                                                              Depositions,
                                                                                              Settlement
                                                                                              Discussions, Prepare
                                                                                              for and Defend
                                                                                              Depositions,
                                                                                              Discovery Disputes,
                                                                                              Interpleader Issues,
                                                                                              Surreply to Summary
                                                                                              Judgment, Mass
                                                                                              Document Review


  11067197        03/08/2010      407.70     $    125,307.39   $    7,056.19   $   132,363.58 Mass Document
                                                                                              Review in Response
                                                                                              to Alberta Discovery,
                                                                                              Privilege Review of
                                                                                              Documents, Take
                                                                                              Depositions,
                                                                                              Discovery Disputes
  11075192        04/09/2010       64.65     $     25,346.79   $    2,193.58   $    27,540.37 Take Depositions,
                                                                                              Discovery Disputes,
                                                                                              Prepare Witnesses
                                                                                              for Depositions,
  11083128        05/10/2010      118.55     $     52,810.71   $    4,430.09   $    57,240.80 Prepare for & Attend
                                                                                              Settlement
                                                                                              Conference, Prepare
                                                                                              & Defend
                                                                                              Depositions,
                                                                                              Interpleader Issues


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    Granite v. Alberta - Summary of Fees Expenses Relating to Escrow Claims



                                  Escrow     Escrow Related    Escrow Related   Total Fees &    General Description
 Invoice #    Invoice Date     Related Hours      Fees           Expenses        Expenses              of Work
  11093316     06/09/2010           5.70     $      2,495.17   $     5,746.32 $       8,241.49 Escrow Issues,
                                                                                               Settlement Strategy
  11102107        07/12/2010       13.90     $      5,880.30   $     4,356.86 $      10,237.16 Pretrial Order,
                                                                                               Settlement, Escrow
                                                                                               Funds Issues
  11109197        08/09/2010       20.80     $     32,228.17   $     3,400.96 $      35,629.13 Pretrial Order, Exhibit
                                                                                               & Witness Lists,
                                                                                               Review Settlement
                                                                                               Issues, Settlement
                                                                                               Memo
  11117085        09/09/2010       12.40     $         63.75   $          -   $          63.75 Alberta's Motion to
                                                                                               Expedite
  11127431        10/13/2010       12.40     $      5,655.90   $          -   $       5,655.90 Prepare for & Attend
                                                                                               Settlement
                                                                                               Conference
  11136366        11/12/2010       6.90      $      2,425.05   $          -   $       2,425.05 Settlement, Trial
                                                                                               Logistics
  11145137        12/14/2010       10.90     $      1,290.30   $     3,403.12 $       4,693.42 Interpleader of Funds,
                                                                                               Trial Logistics

  11151559        01/12/2011       13.50     $      6,248.35   $      3,400.00   $      9,648.35 Trial Prep, Status
                                                                                                 Conference, Pretrial
                                                                                                 Matters, Motion in
                                                                                                 Limine
  11158183        02/09/2011      212.10     $     15,615.35   $         78.17   $     15,693.52 Pretrial Motions,
                                                                                                 Amended Complaint,
                                                                                                 Prepare Exhibits,
                                                                                                 Settlement
                                                                                                 Discussions,
                                                                                                 Damages Statement,
                                                                                                 Voir Dire Questions

  11167414        03/10/2011       17.00     $     95,429.07   $      7,167.75   $   102,596.82 Prepare for and
                                                                                                Attend Trial, Review
                                                                                                Pretrial Submissions,
                                                                                                Exhibit Objections,
                                                                                                Witness Outlines,
                                                                                                Witness Preparation,
                                                                                                Findings of Fact &
                                                                                                Conclusions of Law,
                                                                                                Written Closing


  11174413        04/12/2011       79.60     $      8,815.94   $      5,083.14   $     13,899.08 Research Attorneys'
                                                                                                 Fees & Post-trial
                                                                                                 Issues




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    Granite v. Alberta - Summary of Fees Expenses Relating to Escrow Claims



                                   Escrow     Escrow Related     Escrow Related   Total Fees &    General Description
 Invoice #    Invoice Date      Related Hours      Fees            Expenses        Expenses              of Work
  11184051     05/13/2011           10.60     $     12,536.22    $     6,157.68 $      18,693.90 Post-trial Issues
                                                                                                 including Review of
                                                                                                 Transcript, Revising
                                                                                                 Proposed Findings of
                                                                                                 Fact and Conclusions
                                                                                                 of Law
  11184301        05/13/2011        1.20       $       418.20    $          -   $         418.20 Prepare Claim for
                                                                                                 Attorneys' Fees
  11192319        06/13/2011        2.50       $      1,312.50   $          -   $       1,312.50 Post-Trial Issues
  11192438        06/13/2011        5.90       $      2,419.00   $          -   $       2,419.00 Prepare Claim for
                                                                                                 Attorneys' Fees
                    Sub-total        1,497.90 $    580,403.32    $   54,642.80   $   635,046.12


              Fees Not Yet        109.50       $    38,879.00    $          -    $    38,879.00 Assess Ruling,
                  Invoiced                                                                        Prepare Atty. Fees
                                                                                                  Request w/
                                                                                                  supporting evidence
                                                                                                  & Confer w/ Land
                                                                                                  Title

                  Estimate of      30.00       $    12,000.00    $          -    $    12,000.00 Pursue Atty. Fees &
                  Future Fees                                                                     Collection of
                                                                                                  judgment

                        Total        1,637.40 $    631,282.32    $   54,642.80   $   685,925.12

             Average Rate $           385.54




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          Granite v. Alberta - Document Review Summary
                                                  Rate
           Month         Timekeeper             Charged      Hours          Fees

             Feb-10
                        Jennifer Sherrill   $     403.75        24.80   $   10,013.00
                        Tamsen Barrett      $     267.75         0.70   $      187.43
                           Holly Kipp       $     229.50         0.50   $      114.75
                        Todd Hambidge       $     289.00         0.70   $      202.30
                      S.A. Hayden Briggle   $     216.75         0.50   $      108.38
                          Jerod Neas        $     216.75         0.50   $      108.38
                         Chris Weimer       $     195.50         0.60   $      117.30
                         Tracy Stewart      $     195.50         0.60   $      117.30
                        Leaf McGregor       $     182.75         0.80   $      146.20

                      Paralegal Personnel
                          Paula Miller      $     140.25         2.00 $        280.50
                        Mary Murchison      $     119.00         0.20 $         23.80

             Mar-10
                        Jennifer Sherrill   $     403.75       102.80   $   41,505.50
                        Tamsen Barrett      $     267.75        39.60   $   10,602.90
                           Holly Kipp       $     229.50        58.90   $   13,517.55
                        Todd Hambidge       $     289.00        19.30   $    5,577.70
                      S.A. Hayden Briggle   $     216.75       123.00   $   26,660.25
                          Jerod Neas        $     216.75       111.30   $   24,124.28
                         Chris Weimer       $     195.50        35.20   $    6,881.60
                         Tracy Stewart      $     195.50        27.50   $    5,376.25
                        Leaf McGregor       $     182.75        13.50   $    2,467.13
                      Travis Siebeneicher   $     297.50        59.50   $   17,701.25

                                          TOTALS              622.50 $ 165,833.73
                                      50% Discount            311.25 $ 82,916.86

                                                           Avg Rate     $     266.40
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        Granite v. Alberta - Summary of Hours, Fees, and Rates for Core Team
                                     Discounted    Escrow          Fees for Escrow
         Month      Timekeeper       Rate (15%)*    Hours              Claims
          Mar-09
                     Paul Trahan    $     459.00        2.50 $              1,147.50
          Apr-09
                     Jeff Dykes     $     552.50        4.40   $            2,431.00
                     Jane Smith     $     480.25        7.20   $            3,457.80
                    Paul Trahan     $     433.50       19.55   $            8,474.93
                    Bryan Patrick   $     301.75        6.20   $            1,870.85
                     Ben Vetter     $     289.00        1.30   $              375.70
          May-09
                     Jeff Dykes     $     552.50        1.00   $              552.50
                     Jane Smith     $     480.25        2.70   $            1,296.68
                    Paul Trahan     $     433.50        4.65   $            2,015.78
                    Bryan Patrick   $     301.75        4.50   $            1,357.88
                     Ben Vetter     $     289.00        3.50   $            1,011.50
          Jun-09
                     Jeff Dykes     $     552.50        3.00   $            1,657.50
                     Jane Smith     $     480.25        0.70   $              336.18
                    Paul Trahan     $     433.50        7.85   $            3,402.98
                    Bryan Patrick   $     301.75        2.30   $              694.03
                     Ben Vetter     $     289.00        5.10   $            1,473.90
           Jul-09
                     Jeff Dykes     $     552.50        2.30   $            1,270.75
                     Jane Smith     $     480.25        1.60   $              768.40
                    Paul Trahan     $     433.50        7.70   $            3,337.95
                    Bryan Patrick   $     301.75        2.85   $              859.99
                     Ben Vetter     $     289.00        5.20   $            1,502.80
          Aug-09
                     Jeff Dykes     $     552.50        0.50   $             276.25
                     Jane Smith     $     480.25        0.00   $                -
                    Paul Trahan     $     433.50        0.60   $             260.10
                    Bryan Patrick   $     301.75        0.00   $                -
                     Ben Vetter     $     289.00        1.50   $             433.50
          Sep-09
                     Jeff Dykes     $     552.50        0.20   $              110.50
                     Jane Smith     $     480.25        0.60   $              288.15
                    Paul Trahan     $     433.50        9.90   $            4,291.65
                    Bryan Patrick   $     301.75        5.50   $            1,659.63
                     Ben Vetter     $     289.00        0.00   $                 -
          Oct-09
                     Jeff Dykes     $     552.50        0.00   $                 -
                     Jane Smith     $     480.25        0.50   $              240.13
                    Paul Trahan     $     433.50        0.00   $                 -
                    Bryan Patrick   $     301.75        0.00   $                 -
                     Ben Vetter     $     289.00        5.20   $            1,502.80
          Nov-09
                    Bryan Patrick   $     301.75        0.60 $                181.05
          Dec-09                                             $                   -
                     Jeff Dykes     $     552.50        3.30 $              1,823.25
                     Jane Smith     $     480.25        4.70 $              2,257.18
                    Paul Trahan     $     433.50       17.90 $              7,759.65
                    Bryan Patrick   $     301.75       38.00 $             11,466.50
                     Ben Vetter     $     289.00       20.60 $              5,953.40
          Jan-10
                     Jeff Dykes     $     552.50        9.40 $              5,193.50
                     Jane Smith     $     505.75       21.00 $             10,620.75
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                                    Discounted     Escrow          Fees for Escrow
         Month      Timekeeper      Rate (15%)*     Hours              Claims
                    Paul Trahan     $     454.75       84.00 $             38,199.00
                    Bryan Patrick   $     318.75      105.40 $             33,596.25
                     Ben Vetter     $     301.75       14.45 $              4,360.29
          Feb-10
                     Jeff Dykes     $     552.50        0.00   $                 -
                     Jane Smith     $     505.75       19.60   $            9,912.70
                    Paul Trahan     $     454.75        5.50   $            2,501.13
                    Bryan Patrick   $     318.75       86.20   $           27,476.25
                     Ben Vetter     $     301.75        0.30   $               90.53
          Mar-10
                     Jeff Dykes     $     552.50       14.70   $            8,121.75
                     Jane Smith     $     505.75        4.20   $            2,124.15
                    Paul Trahan     $     454.75        3.55   $            1,614.36
                    Bryan Patrick   $     301.75       36.20   $           10,923.35
                     Ben Vetter     $     301.75        0.30   $               90.53
          Apr-10
                     Jane Smith     $     505.75       39.65 $             20,052.99
                    Paul Trahan     $     454.75       57.70 $             26,239.08
                    Bryan Patrick   $     318.75       19.50 $              6,215.63
          May-10
                     Jane Smith     $     505.75        2.90 $              1,466.68
                    Paul Trahan     $     454.75        1.00 $                454.75
                    Bryan Patrick   $     318.75        1.80 $                573.75
          Jun-10
                     Jeff Dykes     $     552.50        4.50   $            2,486.25
                     Jane Smith     $     505.75        0.40   $              202.30
                    Paul Trahan     $     454.75        2.95   $            1,341.51
                    Bryan Patrick   $     318.75        1.45   $              462.19
                     Ben Vetter     $     301.75        4.60   $            1,388.05
           Jul-10
                     Jeff Dykes     $     552.50        4.65   $            2,569.13
                     Jane Smith     $     505.75       13.60   $            6,878.20
                    Paul Trahan     $     454.75       13.10   $            5,957.23
                    Bryan Patrick   $     318.75       33.00   $           10,518.75
                     Ben Vetter     $     301.75        5.60   $            1,689.80
          Aug-10
                    Bryan Patrick   $     318.75        0.20 $                63.75
          Sep-10
                     Jane Smith     $     505.75        1.40 $                708.05
                    Paul Trahan     $     454.75       10.60 $              4,820.35
                    Bryan Patrick   $     318.75        0.40 $                127.50
          Oct-10
                     Jeff Dykes     $     552.50        0.50   $              276.25
                     Jane Smith     $     505.75        0.00   $                 -
                    Paul Trahan     $     454.75        0.80   $              363.80
                    Bryan Patrick   $     318.75        5.60   $            1,785.00
          Nov-10
                     Jane Smith     $     505.75        1.50   $              758.63
                    Paul Trahan     $     454.75        9.00   $            4,092.75
                    Bryan Patrick   $     318.75        0.10   $               31.88
                     Ben Vetter     $     301.75        0.30   $               90.53
          Dec-10
                     Jeff Dykes     $     552.50        4.30   $            2,375.75
                     Jane Smith     $     505.75        0.70   $              354.03
                    Paul Trahan     $     454.75        6.10   $            2,773.98
                    Bryan Patrick   $     318.75        1.20   $              382.50
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                                           Discounted    Escrow          Fees for Escrow
         Month         Timekeeper          Rate (15%)*    Hours              Claims
                        Ben Vetter         $    301.75        1.20 $               362.10
          Jan-11
                        Jeff Dykes         $    552.50       11.60   $            6,409.00
                        Jane Smith         $    531.25        0.80   $              425.00
                       Paul Trahan         $    488.75        5.60   $            2,737.00
                       Bryan Patrick       $    348.50        6.10   $            2,125.85
                        Ben Vetter         $    306.00        1.00   $              306.00
                       Lucy Arnold         $    212.50       17.00   $            3,612.50
          Feb-11
                        Jeff Dykes         $    552.50       47.90   $           26,464.75
                        Jane Smith         $    531.25        9.20   $            4,887.50
                       Paul Trahan         $    488.75       96.70   $           47,262.13
                       Bryan Patrick       $    348.50        9.10   $            3,171.35
                       Lucy Arnold         $    212.50       49.20   $           10,455.00
          Mar-11
                        Jeff Dykes         $    552.50        0.50 $               276.25
                       Paul Trahan         $    488.75        0.30 $               146.63
                       Bryan Patrick       $    348.50        0.30 $               104.55
          Apr-11
                        Jeff Dykes         $    552.50        1.60   $              884.00
                       Paul Trahan         $    488.75       18.10   $            8,846.38
                       Bryan Patrick       $    348.50        3.10   $            1,080.35
                       Lucy Arnold         $    212.50        9.00   $            1,912.50
          May-11
                        Jeff Dykes         $    552.50        0.50   $              276.25
                       Paul Trahan         $    488.75        1.50   $              733.13
                       Bryan Patrick       $    348.50        5.90   $            2,056.15
                       Lucy Arnold         $    212.50        0.50   $              106.25


                                           TOTALS        1156.30 $          464,766.40

                   *NB: The discount in
                   March 2009 is of 10%,
                         not 15%.          Average Rate              $           401.94
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